Case No. 1:23-cv-01557-DDD-STV Document 95 filed 10/11/24 USDC Colorado pg 1 of 3




                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-01557-DDD-STV

  DARREN PATTERSON CHRISTIAN ACADEMY
      Plaintiff,
  v.

  LISA ROY, in her official capacity as Executive Director of the Colorado
  Department of Early Childhood; and

  DAWN ODEAN, in her official capacity as Director of Colorado’s Universal
  Preschool Program,
        Defendants.

                    DEFENDANTS’ NOTICE OF RULEMAKING

        Defendants, Lisa Roy and Dawn Odean, through undersigned counsel, hereby

  file this Notice of Rulemaking to notify the Court of the following relevant facts that

  have arisen since the Summary Judgment Briefing:

        The Colorado Department of Early Childhood (“Department”) has commenced

  rulemaking concerning the congregation preference. A federal district court judge

  found that the statute, Colo. Rev. Stat. § 26.5-4-205(2)(b), does not give the

  Department the authority or discretion to create exceptions from the statute’s

  equal-opportunity requirements, but that the congregation preference is an

  exception from the provision requiring equal opportunity regardless of religious

  affiliation. See St. Mary Cath. Par. in Littleton v. Roy, 2024 WL 3160324 *1, 27, 31-

  32 (D. Colo. June 4, 2024). While the Department did not intend the congregation

  preference to permit any actions in conflict with Colo. Rev. Stat. § 26.5-4-205(2)(b),

  the Department is seeking to repeal the congregation preference because the


                                             1
Case No. 1:23-cv-01557-DDD-STV Document 95 filed 10/11/24 USDC Colorado pg 2 of 3




  Department is committed to complying with all statutory requirements and to

  ensuring that all children have an equal opportunity to enroll in and receive safe

  and healthy, high-quality, publicly-funded preschool services.

        As such, the Department initiated the rulemaking process on October 4,

  2024, and the rule was approved by the Rules Advisory Council as written on

  October 10, 2024, during a public hearing. The remaining timeline of the proposed

  rulemaking shall proceed as follows:

        PUBLIC RULEMAKING HEARING DISCUSSION DATE
        October 24, 2024

        PUBLIC RULEMAKING HEARING ADOPTION DATE
        November 21, 2024

        EFFECTIVE DATE, IF ADOPTED
        January 14, 2025

  The Rulemaking Packet is attached hereto as Exhibit 1083.

  Respectfully submitted this October 11, 2024.

                                         PHILIP J. WEISER
                                         Attorney General


                                         s/ Virginia R. Carreno
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                                            2
Case No. 1:23-cv-01557-DDD-STV Document 95 filed 10/11/24 USDC Colorado pg 3 of 3




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  I hereby certify that the foregoing pleading complies with the type-volume limitation
  set forth in Judge Domenico’s Practice Standard III(A)(1).

                            CERTIFICATE OF SERVICE

        I hereby certify that on October 11, 2024, I electronically filed the foregoing
  DEFENDANTS’ NOTICE OF RULEMAKING with the Clerk of Court using the
  CM/ECF system. I certify that all participants in the case are registered CM/ECF
  users and that service will be accomplished by the CM/ECF system:

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                                            3
